              Case:17-15477-MER Doc#:1 Filed:06/13/17                                    Entered:06/13/17 12:48:35 Page1 of 79


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO, DENVER DIVISION

Case number (if known)                                                         Chapter you are filing under:

                                                                               Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                                Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Jerry D.                                                        Michelle
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's                                                                          D.
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    Mills                                                            Euler
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                        Michelle Ater
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-1847                                                     xxx-xx-3694
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1
Debtor 2   Mills, Jerry D. & Euler, Michelle D.                                                           Case number (if known)




                                 About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have       I have not used any business name or EINs.                      I have not used any business name or EINs.
     used in the last 8 years
                                 DBA Dirty Jerrys LLC
     Include trade names and     Business name(s)                                                  Business name(s)
     doing business as names

                                 EINs                                                              EINs




5.   Where you live                                                                                If Debtor 2 lives at a different address:

                                 501 Fairway Ave
                                 Rifle, CO 81650-3407
                                 Number, Street, City, State & ZIP Code                            Number, Street, City, State & ZIP Code

                                 Garfield
                                 County                                                            County

                                 If your mailing address is different from the one                 If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any         here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                           address.

                                 501 Fairway Ave
                                 Rifle, CO 81650-3407
                                 Number, P.O. Box, Street, City, State & ZIP Code                  Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                     Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other              Over the last 180 days before filing this petition, I have
                                        district.                                                          lived in this district longer than in any other district.

                                       I have another reason.                                            I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                   Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 2
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Debtor 1
Debtor 2    Mills, Jerry D. & Euler, Michelle D.                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                  When                              Case number
                                             District                                  When                              Case number
                                             District                                  When                              Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known



11. Do you rent your               No.        Go to line 12.
    residence?
                                  Yes.        Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
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Debtor 1
Debtor 2    Mills, Jerry D. & Euler, Michelle D.                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
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Debtor 1
Debtor 2    Mills, Jerry D. & Euler, Michelle D.                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
    briefing about credit
                                      Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                      Icounseling
                                                                                                          received a briefing from an approved credit
                                                                                                                     agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




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Debtor 1
Debtor 2    Mills, Jerry D. & Euler, Michelle D.                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                           50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                                                                           $1,000,000,001 - $10 billion
    be?                                                                              $10,000,001 - $50 million
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Jerry D. Mills                                                 /s/ Michelle D. Euler
                                   Jerry D. Mills                                                     Michelle D. Euler
                                   Signature of Debtor 1                                              Signature of Debtor 2

                                   Executed on      June 13, 2017                                     Executed on      June 13, 2017
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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Debtor 1
Debtor 2   Mills, Jerry D. & Euler, Michelle D.                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Mark Berumen                                                      Date         June 13, 2017
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Mark Berumen
                                Printed name

                                Berumen Law Firm, P.C.
                                Firm name


                                1873 S Bellaire St Ste 1010
                                Denver, CO 80222-4356
                                Number, Street, City, State & ZIP Code

                                Contact phone    (303) 751-2128                                 Email address         markberumen@berumenlaw.com
                                29628
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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                                                Certificate Number: 00134-CO-CC-029085354


                                                              00134-CO-CC-029085354




                     CERTIFICATE OF COUNSELING

 I CERTIFY that on April 13, 2017, at 7:07 o'clock PM MDT, Jerry D. Mills
 received from Cricket Debt Counseling, an agency approved pursuant to 11
 U.S.C. § 111 to provide credit counseling in the District of Colorado, an
 individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   April 13, 2017                         By:      /s/Justin Hazeltine


                                                Name: Justin Hazeltine


                                                Title:   Counselor




 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                                                Certificate Number: 00134-CO-CC-029083918


                                                              00134-CO-CC-029083918




                     CERTIFICATE OF COUNSELING

 I CERTIFY that on April 13, 2017, at 2:56 o'clock PM MDT, Michelle D. Euler
 received from Cricket Debt Counseling, an agency approved pursuant to 11
 U.S.C. § 111 to provide credit counseling in the District of Colorado, an
 individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   April 13, 2017                         By:      /s/Ariana Martinez


                                                Name: Ariana Martinez


                                                Title:   Counselor




 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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 Fill in this information to identify your case:

 Debtor 1                 Jerry D. Mills
                          First Name                      Middle Name                    Last Name

 Debtor 2                 Michelle D. Euler
 (Spouse if, filing)      First Name                      Middle Name                    Last Name


 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                   Dates Debtor 1 lived     Debtor 2 Prior Address:                               Dates Debtor 2
                                                                  there                                                                          lived there
        1322 E 7th St # 4                                         From-To:                 Same as Debtor 1                                     Same as Debtor 1
        Rifle, CO 81650-2150                                      10/27/2014 -                                                                   From-To:
                                                                  10/31/2015

        8913 W 92nd Ave                                           From-To:                 Same as Debtor 1                                     Same as Debtor 1
        Westminster, CO 80021-4301                                05/2013 - 10/2014                                                              From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                 Gross income                 Sources of income               Gross income
                                                  Check all that apply.             (before deductions and       Check all that apply.           (before deductions
                                                                                    exclusions)                                                  and exclusions)
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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 Debtor 1
 Debtor 2     Mills, Jerry D. & Euler, Michelle D.                                                        Case number (if known)


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income                Sources of income             Gross income
                                                  Check all that apply.              (before deductions and      Check all that apply.         (before deductions
                                                                                     exclusions)                                               and exclusions)

 From January 1 of current year until              Wages, commissions,                        $16,000.00         Wages, commissions,                        $0.00
 the date you filed for bankruptcy:               bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business

 For last calendar year:                           Wages, commissions,                        $26,127.00         Wages, commissions,                        $0.00
 (January 1 to December 31, 2016 )                bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business

 For the calendar year before that:                Wages, commissions,                       $175,457.00         Wages, commissions,                        $0.00
 (January 1 to December 31, 2015 )                bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income from           Sources of income             Gross income
                                                  Describe below.                    each source                 Describe below.               (before deductions
                                                                                     (before deductions and                                    and exclusions)
                                                                                     exclusions)
 For last calendar year:                          2016 Gambling                                  $2,400.00
 (January 1 to December 31, 2016 )                Winnings


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                    paid            still owe



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 Debtor 1
 Debtor 2     Mills, Jerry D. & Euler, Michelle D.                                                        Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                                 Dates of payment         Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                                 Dates of payment         Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                                 Nature of the case      Court or agency                          Status of the case
       Case number
       Midland Funding LLC V Jerry Mills                          Collections             County Court, Garfield                      Pending
       2016C030100                                                                        County                                      On appeal
                                                                                          200 E 18th St                             Concluded
                                                                                          Rifle, CO 81650-3530

       Calvary SPV I, LLC v. Jerry Mills                          Collections             County Court, Garfield                    Pending
       aka Jerry D. Mills                                                                 County                                      On appeal
       17c30021                                                                           200 E 18th St
                                                                                                                                      Concluded
                                                                                          Rifle, CO 81650-3530

       Michael Waski v. Jerry Mills, a/k/a                        Collections             District Court McKenzie                   Pending
       Jerry D. Mills and Dirty Jerry's LLC                                               County, ND                                  On appeal
                                                                                          201 5th St NW Unit 524
                                                                                                                                      Concluded
                                                                                          Watford City, ND
                                                                                          58854-7118

       CO Dept. of Revenue v. Jerry Mills                         Collections             Disctrict Court, Douglas                  Pending
       06cr000406                                                                         County                                      On appeal
                                                                                          4000 Justice Way                            Concluded
                                                                                          Castle Rock, CO
                                                                                          80109-7802


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                  Describe the Property                                     Date                        Value of the
                                                                                                                                                           property
                                                                  Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your

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 Debtor 2     Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if known)


      accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                  Describe the action the creditor took                      Date action was            Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
     No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Yampah High School                                             $1000                                                                          $1,000.00
       695 Red Mountain Dr
       Glenwood Springs, CO 81601-3334


 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
       how the loss occurred                                                                                                 loss                           lost
                                                          Include the amount that insurance has paid. List pending
                                                          insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
       Address                                                        transferred                                            transfer was             payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Berumen Law Firm, P.C.                                         Attorney Fees                                          2016                    $1,200.00
       13900 E Harvard Ave Ste 108
       Aurora, CO 80014-2325



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 Debtor 2      Mills, Jerry D. & Euler, Michelle D.                                                        Case number (if known)


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or            Amount of
       Address                                                        transferred                                            transfer was                payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                 Describe any property or        Date transfer was
       Address                                                        property transferred                     payments received or debts      made
                                                                                                               paid in exchange
       Person's relationship to you
       Private Party                                                  2003 Ford F250                           $100                            02/2017


       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                        Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                          Last 4 digits of        Type of account or           Date account was        Last balance before
       Address (Number, Street, City, State and ZIP               account number          instrument                   closed, sold,            closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred
       Wells Fargo                                                XXXX-                   Checking                    WHEN                            $-3,853.00
       PO Box 23003                                                                        Savings
       Columbus, GA 31902-3003
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other

       Alpine Bank                                                XXXX-                   Checking                    WHEN                                 $0.00
       100 E 4th St                                                                        Savings
       Rifle, CO 81650-3365
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other




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 Debtor 2     Mills, Jerry D. & Euler, Michelle D.                                                            Case number (if known)


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                               Who else had access to it?                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State                                       have it?
                                                                   and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                    Who else has or had access                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)          to it?                                                                     have it?
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

       South Bank Storage                                          None                                       Household items                  No
       1453 Airport Rd                                                                                                                        Yes
       Rifle, CO 81650-8456


 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                   Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                Governmental unit                              Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                   ZIP Code)




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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
        Case Title                                                    Court or agency                        Nature of the case                    Status of the
        Case Number                                                   Name                                                                         case
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                             Describe the nature of the business             Employer Identification number
        Address                                                                                                   Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                  Dates business existed
        Dirty Jerry's LLC                                         Scrap Metal                                     EIN:
        PO Box 48
        Rifle, CO 81650-0048                                                                                      From-To     02/2007 - Prsent


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                      Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Jerry D. Mills                                                       /s/ Michelle D. Euler
 Jerry D. Mills                                                           Michelle D. Euler
 Signature of Debtor 1                                                    Signature of Debtor 2

 Date      June 13, 2017                                                  Date        June 13, 2017

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1                   Jerry D. Mills
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Michelle D. Euler
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $                9,910.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $                9,910.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $                      0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $             100,277.21

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $          2,400,361.84


                                                                                                                                     Your total liabilities $                2,500,639.05


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                   600.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,375.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 2     Mills, Jerry D. & Euler, Michelle D.                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $   600.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $            100,277.21

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                  $             14,074.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                            $           114,351.21




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                 Jerry D. Mills
                          First Name                      Middle Name                    Last Name

 Debtor 2                 Michelle D. Euler
 (Spouse, if filing)      First Name                      Middle Name                    Last Name


 United States Bankruptcy Court for the:           DISTRICT OF COLORADO, DENVER DIVISION

 Case number                                                                                                                                        Check if this is an
                                                                                                                                                     amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
    Yes.      Where is the property?


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1      Make:       HUMMER                                Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
           Model:      H3                                     Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
           Year:       2006                                   Debtor 2 only                                           Current value of the      Current value of the
           Approximate mileage:               78000          Debtor 1 and Debtor 2 only                               entire property?          portion you own?
           Other information:                                 At least one of the debtors and another

                                                              Check if this is community property                               $7,457.00                 $7,457.00
                                                                  (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                 $7,457.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
     No
Official Form 106A/B                                            Schedule A/B: Property                                                                             page 1
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 Debtor 1
 Debtor 2       Mills, Jerry D. & Euler, Michelle D.                                                    Case number (if known)

    Yes.     Describe.....
                                   Sofa, Loveseat, TV, Entertainment Center, DVD Player, Coffee
                                   Table, End Table, Sofa Table, Kitchen Table and Chairs,
                                   Pots/Pans, Beds, Dressers, Lamps, Dining Table, Refrigerator,
                                   Freezer, Washing Machine, Cloths Dryer, Telephone Cell Phone                                                      $1,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.    Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
    Yes.     Describe.....
                                   Books Pictures DVDs                                                                                                  $300.00


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   Clothing                                                                                                             $800.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.     Describe.....
                                   Jewlery                                                                                                              $230.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.    Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.    Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                $2,330.00


 Part 4: Describe Your Financial Assets




Official Form 106A/B                                              Schedule A/B: Property                                                                    page 2
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 Debtor 1
 Debtor 2          Mills, Jerry D. & Euler, Michelle D.                                                                             Case number (if known)

 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                       Cash on Hand                           $5.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.      Checking Account                       Alpine Bank Checking Account                                                 $88.00



                                              17.2.      Checking Account                       Alpine Bank Business Checking Account                                        $30.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                               % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                  Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):



Official Form 106A/B                                                                     Schedule A/B: Property                                                                page 3
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 Debtor 1
 Debtor 2       Mills, Jerry D. & Euler, Michelle D.                                                    Case number (if known)

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.    Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.    Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.    Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                          Beneficiary:                              Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.    Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.    Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.    Give specific information..




Official Form 106A/B                                              Schedule A/B: Property                                                                    page 4
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 Debtor 1
 Debtor 2         Mills, Jerry D. & Euler, Michelle D.                                                                                  Case number (if known)

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................              $123.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                               $0.00

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................              $0.00
 56. Part 2: Total vehicles, line 5                                                                             $7,457.00
 57. Part 3: Total personal and household items, line 15                                                        $2,330.00
 58. Part 4: Total financial assets, line 36                                                                      $123.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $9,910.00             Copy personal property total     $9,910.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $9,910.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                   page 5
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 Fill in this information to identify your case:

 Debtor 1                Jerry D. Mills
                         First Name                       Middle Name                      Last Name

 Debtor 2                Michelle D. Euler
 (Spouse if, filing)     First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

      HUMMER                                                                                                                     Colo. Rev. Stat. §
      H3
                                                                    $7,457.00                                     $7,457.00
                                                                                                                                 13-54-102(1)(j)(II)
      2006                                                                                  100% of fair market value, up to
      78000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Sofa, Loveseat, TV, Entertainment                                                                                          Colo. Rev. Stat. §
      Center, DVD Player, Coffee Table,
                                                                    $1,000.00                                     $1,000.00
                                                                                                                                 13-54-102(1)(e)
      End Table, Sofa Table, Kitchen Table                                                  100% of fair market value, up to
      and Chairs, Pots/Pans, Beds,                                                           any applicable statutory limit
      Dressers, Lamps, Dining Table,
      Refrigerator, Freezer, Washing
      Machine, Cloths Dryer, Telephone
      Cell Phone
      Line from Schedule A/B: 6.1

      Books Pictures DVDs                                                                                                        Colo. Rev. Stat. §
      Line from Schedule A/B: 8.1
                                                                        $300.00                                     $300.00
                                                                                                                                 13-54-102(1)(c)
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      Clothing                                                                                                                   Colo. Rev. Stat. §
      Line from Schedule A/B: 11.1
                                                                        $800.00                                     $800.00
                                                                                                                                 13-54-102(1)(a)
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit



Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 2
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 Debtor 1
 Debtor 2    Mills, Jerry D. & Euler, Michelle D.                                                      Case number (if known)

     Brief description of the property and line on           Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     Jewlery                                                                                                                    Colo. Rev. Stat. §
     Line from Schedule A/B: 12.1
                                                                       $230.00                                  $230.00
                                                                                                                                13-54-102(1)(b)
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Cash on Hand                                                                                                               Colo. Rev. Stat. §§
     Line from Schedule A/B: 16.1
                                                                          $5.00                                     75%
                                                                                                                                13-54-104(2)(A), 5-5-105,
                                                                                        100% of fair market value, up to       5-5-106
                                                                                         any applicable statutory limit

     Alpine Bank Checking Account                                                                                               Colo. Rev. Stat. §§
     Line from Schedule A/B: 17.1
                                                                        $88.00                                      75%
                                                                                                                                13-54-104(2)(A), 5-5-105,
                                                                                        100% of fair market value, up to       5-5-106
                                                                                         any applicable statutory limit

     Alpine Bank Business Checking                                                                                              Colo. Rev. Stat. §§
     Account
                                                                        $30.00                                      75%
                                                                                                                                13-54-104(2)(A), 5-5-105,
     Line from Schedule A/B: 17.2                                                       100% of fair market value, up to       5-5-106
                                                                                         any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                Jerry D. Mills
                         First Name                       Middle Name               Last Name

 Debtor 2                Michelle D. Euler
 (Spouse if, filing)     First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?

      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.




Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Jerry D. Mills
                            First Name                       Middle Name                       Last Name

 Debtor 2                   Michelle D. Euler
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim         Priority              Nonpriority
                                                                                                                                            amount                amount
              Colorado Department Of
 2.1          Revenue                                              Last 4 digits of account number         0333             $24,355.16           $24,355.16                     $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              1375 Sherman St
              Denver, CO 80261-3000
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 28
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 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                            Case number (if know)

 2.2       Internal Revenue Service                               Last 4 digits of account number                       $74,166.24    $74,166.24       $0.00
           Priority Creditor's Name
                                                                  When was the debt incurred?
           1999 Broadway
           Denver, CO 80202-3025
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                         2005 - 2008 ; 2011 - 2013

 2.3       Job Service North Dakota                               Last 4 digits of account number                         $1,010.38    $1,010.38       $0.00
           Priority Creditor's Name
           Centralized Service - Business                         When was the debt incurred?
           SErvices,
           PO Box 5507
           Bismarck, ND 58506-5507
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
         Debtor 1 only                                            Unliquidated
         Debtor 2 only                                            Disputed
        Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                         Unemployment tax

           North Dakota Office of State Tax
 2.4       Commiss                                                Last 4 digits of account number      8301                 $745.43     $745.43        $0.00
           Priority Creditor's Name
                                                                  When was the debt incurred?
           500 W Boulevard Ave
           Bismarck, ND 58501-3468
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
         Debtor 1 only                                            Unliquidated
         Debtor 2 only                                            Disputed
        Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes                                                                         Business tax

 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 28
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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                              Case number (if know)

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        American Coradius International                          Last 4 digits of account number                                                                  $12,329.17
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            35A Rust Ln
            Boerne, TX 78006-8202
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                           Contingent
             Debtor 2 only                                           Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Collections


 4.2        Caine & Weiner                                           Last 4 digits of account number                                                                       $374.30
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            PO Box 5010
            Woodland Hills, CA 91365-5010
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                           Contingent
             Debtor 2 only                                           Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Collections


 4.3        Calvary Portfolio Service                                Last 4 digits of account number                                                                    $2,124.81
            Nonpriority Creditor's Name
            Attn: Customer Care                                      When was the debt incurred?
            500 Summit Lake Dr Ste 400
            Valhalla, NY 10595-1340
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             Debtor 1 only                                           Contingent
             Debtor 2 only                                           Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Collections



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 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.4      Centura-St Anthony North                                Last 4 digits of account number       2525                                        $5,275.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-10
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.5      Chi Mercy Medical Center Clinic                         Last 4 digits of account number       4850                                         $564.84
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 776320
          Chicago, IL 60677-6320
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.6      City of Westminster LLC                                 Last 4 digits of account number       0001                                        $1,491.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-01
          4800 W 92nd Ave
          Westminster, CO 80031-6387
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify




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          Colorado Department Of Labor And
 4.7      Employm                                                 Last 4 digits of account number                                                    $104.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 956
          Denver, CO 80201-0956
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.8      Creditonebnk                                            Last 4 digits of account number       7392                                         $847.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2012-02-16
          PO Box 98872
          Las Vegas, NV 89193-8872
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit card


 4.9      D&H Insurance Grroup                                    Last 4 digits of account number       ER01                                         $451.70
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          914 Judson Rd
          Longview, TX 75601-5113
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Installments




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 4.10     Discoverbank                                            Last 4 digits of account number       9106                                        $5,168.38
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2010-09-24
          PO Box 15316
          Wilmington, DE 19850-5316
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit card


          Diversified Adjustment Service,
 4.11     INC                                                     Last 4 digits of account number                                                     $55.80
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          600 Coon Rapids Blvd NW
          Coon Rapids, MN 55433-5549
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections


 4.12     Encore Receivable                                       Last 4 digits of account number                                                   $3,547.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          400 N. Rogers Rd.
          Olathe, KS 66063
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections




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 4.13     First Premier Bank                                      Last 4 digits of account number       2023                                         $979.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2012-09
          601 S Minnesota Ave
          Sioux Falls, SD 57104-4824
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit card


 4.14     Garfield County                                         Last 4 digits of account number                                                      $0.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          200 E 18th St
          Rifle, CO 81650-3530
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections


 4.15     GE Capital Retail Bank                                  Last 4 digits of account number                                                    $742.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 965004
          Orlando, FL 32803
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections




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 4.16     GECRB / jcp                                             Last 4 digits of account number       4051                                        $1,886.12
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 960090
          Orlando, FL 32896-0090
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit card


 4.17     Grand River Clinic                                      Last 4 digits of account number       97L3                                         $207.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2015-12
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.18     Grand River Clinic                                      Last 4 digits of account number       0X2T                                         $194.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2015-03
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 4.19     Grand River Clinic                                      Last 4 digits of account number       YISJ                                         $178.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-08
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.20     Grand River Clinic                                      Last 4 digits of account number       P1M6                                         $142.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2013-05
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.21     Grand River Clinic                                      Last 4 digits of account number       P1M4                                         $138.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2013-05
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 4.22     Grand River Clinic                                      Last 4 digits of account number       48W1                                         $125.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2015-11
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.23     Grand River Clinic                                      Last 4 digits of account number       QEC8                                         $124.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2013-08
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.24     Grand River Clinic                                      Last 4 digits of account number       QECE                                         $124.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2013-08
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 4.25     Grand River Clinic                                      Last 4 digits of account number       YISQ                                         $120.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-08
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.26     Grand River Clinic                                      Last 4 digits of account number       U4C2                                         $117.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-01
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.27     Grand River Medical Centr                               Last 4 digits of account number       BDYE                                        $5,637.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-05
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.28     Grand River Medical Centr                               Last 4 digits of account number       BDYD                                        $2,740.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-05
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.29     Grand River Medical Centr                               Last 4 digits of account number       QI9E                                        $1,892.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2013-07
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.30     Grand River Medical Centr                               Last 4 digits of account number       Y12S                                        $1,726.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-07
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.31     Grand River Medical Centr                               Last 4 digits of account number       00CW                                        $1,155.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-10
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.32     Grand River Medical Centr                               Last 4 digits of account number       UXLS                                         $935.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-02
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.33     Grand River Medical Centr                               Last 4 digits of account number       463Q                                         $589.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2015-05
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.34     Grand River Medical Centr                               Last 4 digits of account number       DUY7                                         $224.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-08
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.35     Grand River Medical Centr                               Last 4 digits of account number       R5F9                                         $152.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2013-08
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.36     Grand River Medical Centr                               Last 4 digits of account number       DUY8                                         $150.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-08
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.37     Grand River Medical Centr                               Last 4 digits of account number       CWTJ                                         $139.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-06
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.38     Grand River Medical Centr                               Last 4 digits of account number       DUY9                                          $57.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-08
          501 Airport Rd
          Rifle, CO 81650-8510
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.39     Heart Vascular Center                                   Last 4 digits of account number       L4PY                                        $1,105.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2012-11
          700 Delaware St
          Denver, CO 80204-4532
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.40     Herc-U-Lift                                             Last 4 digits of account number                                                   $6,555.75
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          5655 Highway 12
          Maple Plain, MN 55359-9401
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Storage Unit


 4.41     J.C. Christensen & Associates                           Last 4 digits of account number       3064                                         $192.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          P.O. Box 519
          Sauk Rapids, MN 56379
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections


 4.42     Kindercare Learning Centers                             Last 4 digits of account number       7001                                         $346.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2015-01
          7395 Church Ranch Blvd
          Westminster, CO 80021-5410
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      School Fees




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.43     Machol & Johannes                                       Last 4 digits of account number       5950                                        $6,868.44
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          600 17th St # 200
          Denver, CO 80202-5402
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections


          Mckenzie County Healthcare
 4.44     Systems                                                 Last 4 digits of account number                                                     $63.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          516 N Main St
          Watford City, ND 58854-7310
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.45     Metropolitan Pathologist Pc                             Last 4 digits of account number       5833                                          $79.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2013-12
          7444 W Alaska Dr
          Lakewood, CO 80226-3327
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.46     Michael Waski                                           Last 4 digits of account number                                                   $2,295,332.29
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          1179 Heritage Dr
          Carbondale, CO 81623-3138
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.47     Midland Credit Management                               Last 4 digits of account number       7392                                             $847.77
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8875 Aero Dr. Suite 200
          San Diego, CA 92123
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections


 4.48     Midland Funding                                         Last 4 digits of account number                                                        $847.77
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          8875 Aero Dr Ste 200
          San Diego, CA 92123-2255
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections




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 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.49     Mountain Radiology Pc                                   Last 4 digits of account number       7894                                         $1,168.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-06
          1906 Blake Ave
          Glenwood Springs, CO 81601-4227
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.50     Mountain Radiology Pc                                   Last 4 digits of account number       DG0X                                          $205.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-05
          1906 Blake Ave
          Glenwood Springs, CO 81601-4227
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.51     NAR                                                     Last 4 digits of account number                                                   $12,912.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 505
          Linden, MI 48451-0505
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.52     Penn Credit Corporation                                 Last 4 digits of account number                                                     $22.45
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 988
          Harrisburg, PA 17108-0988
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Collections


 4.53     Publishers Clearing House                               Last 4 digits of account number                                                     $22.45
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          101 Channel Dr
          Port Washington, NY 11050-2218
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Credit card


 4.54     Rifle Creek Apartments                                  Last 4 digits of account number       7604                                         $660.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-03
          3025 Coal Mine Ave Apt 1A
          Rifle, CO 81650-3925
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Apartment




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.55     Security Service Fcu                                    Last 4 digits of account number                                                   $2,736.80
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          16211 La Cantera Pkwy
          San Antonio, TX 78256
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Repo


 4.56     St Marys Physician Smg                                  Last 4 digits of account number       GEUE                                         $413.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-10
          1311 N Mildred Rd
          Cortez, CO 81321-2231
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.57     St. Anthony Hospital                                    Last 4 digits of account number       5172                                         $870.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2014-04
          11600 W. 2nd Place
          Lakewood, CO 80228
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.58     Target/td                                               Last 4 digits of account number       3898                                        $2,044.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-04-01
          PO Box 673
          Minneapolis, MN 55440-0673
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.59     Trinity Medical Group                                   Last 4 digits of account number       7892                                         $192.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 5010
          Minot, ND 58702-5010
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                          Contingent
           Debtor 2 only                                          Unliquidated
          Debtor 1 and Debtor 2 only                              Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify      Medical


 4.60     U S Dept of Ed/Gsl/Atl                                  Last 4 digits of account number       6244                                        $4,251.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-03
          PO Box 4222
          Iowa City, IA 52244-4222
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
                                                                  Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify




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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.61     U S Dept of Ed/Gsl/Atl                                  Last 4 digits of account number       4880                                        $3,243.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-03
          PO Box 4222
          Iowa City, IA 52244-4222
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
                                                                  Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify

 4.62     U S Dept of Ed/Gsl/Atl                                  Last 4 digits of account number       3247                                        $2,549.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2012-09
          PO Box 4222
          Iowa City, IA 52244-4222
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
                                                                  Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify

 4.63     U S Dept of Ed/Gsl/Atl                                  Last 4 digits of account number       6327                                        $2,530.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2012-09
          PO Box 4222
          Iowa City, IA 52244-4222
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
                                                                  Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                    Other. Specify




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 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                         Case number (if know)

 4.64      U S Dept of Ed/Gsl/Atl                                 Last 4 digits of account number       4884                                               $1,501.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?           2011-04
           PO Box 4222
           Iowa City, IA 52244-4222
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
                                                                  Type of NONPRIORITY unsecured claim:
            At least one of the debtors and another
            Check if this claim is for a community               Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.27 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                BDYE
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.28 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                BDYD
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.29 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                QI9E
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.30 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                Y12S
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.31 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                00CW
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.39 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                L4PY
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.32 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                UXLS

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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                            Case number (if know)

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.33 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    463Q
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.56 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    GEUE
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.34 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    DUY7
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    97L3
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    0X2T
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.19 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    YISJ
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.35 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    R5F9
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.36 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    DUY8
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.20 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    P1M6
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.37 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    CWTJ
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    P1M4
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                            Case number (if know)

 A-1 Collection Agency                                       Line 4.22 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    48W1
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.23 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    QEC8
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.24 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    QECE
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.25 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    YISQ
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.26 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    U4C2
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 A-1 Collection Agency                                       Line 4.38 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 715 Horizon Dr Ste 401                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Junction, CO 81506-8731
                                                             Last 4 digits of account number                    DUY9
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Adam Newhouse                                               Line 4.48 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 632149                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Littleton, CO 80163-2149
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Ally Financial                                              Line 4.43 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 200 Renaissance Ctr                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Detroit, MI 48243
                                                             Last 4 digits of account number                    5950
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Bc Services Inc                                             Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 550 Disc Dr                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Longmont, CO 80503-9343
                                                             Last 4 digits of account number                    2525
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Bc Services Inc                                             Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 550 Disc Dr                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Longmont, CO 80503-9343
                                                             Last 4 digits of account number                    0001
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Bc Services Inc                                             Line 4.45 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 550 Disc Dr                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Longmont, CO 80503-9343
                                                             Last 4 digits of account number                    5833
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?



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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                            Case number (if know)

 Credit One Bank                                             Line 4.47 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 60500                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 City OF Industry, CA 91716
                                                             Last 4 digits of account number                    7392
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 District Court McKenzie County, ND                          Line 4.46 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 201 5th St NW Unit 524                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Watford City, ND 58854-7118
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 I C System Inc                                              Line 4.42 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 64378                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164-0378
                                                             Last 4 digits of account number                    7001
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Integral Recoveries                                         Line 2.1 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 750 W. Hampton Ave. Suite 501                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Englewood, CO 80110
                                                             Last 4 digits of account number                    0333
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Law OFfices of Vincent Buzek                                Line 4.50 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 8758 Wolff Ct Ste 210                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Westminster, CO 80031-6904
                                                             Last 4 digits of account number                    DG0X
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Medallion Bank                                              Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 1100 E 6600 S Ste 510                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84121-7422
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Metro Collection Svc                                        Line 4.54 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 2600 S Parker Rd Ste 340                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Aurora, CO 80014-1613
                                                             Last 4 digits of account number                    7604
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 North American Recover                                      Line 4.49 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1600 W 2200 S Ste 410                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 West Valley City, UT 84119-7240
                                                             Last 4 digits of account number                    7894
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 North American Recover                                      Line 4.57 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1600 W 2200 S Ste 410                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 West Valley City, UT 84119-7240
                                                             Last 4 digits of account number                    5172
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Stoneleigh Recovery Associets,                              Line 4.55 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 1479
 Lombard, IL 60148-8479
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Trinity Medical Group                                       Line 4.41 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 5010                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Minot, ND 58702-5010
                                                             Last 4 digits of account number                    3064
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 27 of 28
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 Debtor 1
 Debtor 2 Mills, Jerry D. & Euler, Michelle D.                                                             Case number (if know)

 Wakefield & Associates                                      Line 4.50 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 3091 S Jamaica Ct                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Aurora, CO 80014-2657
                                                             Last 4 digits of account number                      DG0X
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Xcel Energy                                                 Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 8                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Eau Claire, WI 54702-0008
                                                             Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                 100,277.21
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                 100,277.21

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                   14,074.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $               2,386,287.84

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $               2,400,361.84




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 28 of 28
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 Fill in this information to identify your case:

 Debtor 1                Jerry D. Mills
                         First Name                         Middle Name              Last Name

 Debtor 2                Michelle D. Euler
 (Spouse if, filing)     First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:             DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.    You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                    State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.2
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.3
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.4
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.5
           Name


           Number      Street

           City                                   State                   ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Jerry D. Mills
                            First Name                           Middle Name       Last Name

 Debtor 2                   Michelle D. Euler
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF COLORADO, DENVER DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Jerry D. Mills

Debtor 2                      Michelle D. Euler
(Spouse, if filing)

United States Bankruptcy Court for the:         DISTRICT OF COLORADO, DENVER DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with             Employment status
       information about additional                                   Not employed                              Not employed
       employers.
                                               Occupation
       Include part-time, seasonal, or
       self-employed work.                     Employer's name

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                               How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00     $               0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00            $        0.00




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1
Debtor 2    Mills, Jerry D. & Euler, Michelle D.                                                    Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               0.00
      5e.    Insurance                                                                       5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               0.00
      5g.    Union dues                                                                      5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $        600.00         $               0.00
      8b. Interest and dividends                                                             8b.        $          0.00         $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                          8d.        $              0.00     $               0.00
      8e.    Social Security                                                                 8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $            600.00         $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $             600.00 + $              0.00 = $           600.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$            0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $           600.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                         page 2
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                                                                                                                 United States Bankruptcy Court
                                                                                                                District of Colorado, Denver Division

                                                                   IN RE:                                                                                Case No.
                                                                   Mills, Jerry D. & Euler, Michelle D.                                                  Chapter 7
                                                                                                            Debtor(s)

                                                                                                              BUSINESS INCOME AND EXPENSES
                                                                   FINANCIAL REVIEW OF THE DEBTOR’S BUSINESS (Note: ONLY INCLUDE information directly related to the business
                                                                   operation.)

                                                                   PART A - GROSS BUSINESS INCOME FOR THE PREVIOUS 12 MONTHS:

                                                                     1. Gross Income For 12 Months Prior to Filing:                                      $

                                                                   PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

                                                                     2. Gross Monthly Income:                                                                                   $   3,200.00

                                                                   PART C - ESTIMATED FUTURE MONTHLY EXPENSES:

                                                                     3.   Net Employee Payroll (Other Than Debtor)                                       $
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                                                                     4.   Payroll Taxes                                                                  $
                                                                     5.   Unemployment Taxes                                                             $
                                                                     6.   Worker’s Compensation                                                          $
                                                                     7.   Other Taxes                                                                    $
                                                                     8.   Inventory Purchases (Including raw materials)                                  $
                                                                     9.   Purchase of Feed/Fertilizer/Seed/Spray                                         $
                                                                    10.   Rent (Other than debtor’s principal residence)                                 $
                                                                    11.   Utilities                                                                      $
                                                                    12.   Office Expenses and Supplies                                                   $           2,600.00
                                                                    13.   Repairs and Maintenance                                                        $
                                                                    14.   Vehicle Expenses                                                               $
                                                                    15.   Travel and Entertainment                                                       $
                                                                    16.   Equipment Rental and Leases                                                    $
                                                                    17.   Legal/Accounting/Other Professional Fees                                       $
                                                                    18.   Insurance                                                                      $
                                                                    19.   Employee Benefits (e.g., pension, medical, etc.)                               $
                                                                    20.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
                                                                          Business Debts (Specify):                                                      $




                                                                    21. Other (Specify):                                                                 $




                                                                    22. Total Monthly Expenses (Add items 3-21)                                                                 $   2,600.00

                                                                   PART D - ESTIMATED AVERAGE NET MONTHLY INCOME

                                                                    23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                               $    600.00
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Fill in this information to identify your case:

Debtor 1              Jerry D. Mills                                                                         Check if this is:
                                                                                                              An amended filing
Debtor 2              Michelle D. Euler                                                                       A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF COLORADO, DENVER DIVISION                                      MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
           No
                 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s     Does dependent
                                                                                                                                       live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                            Grandson                             4              Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                          1,400.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                            0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1
Debtor 2     Mills, Jerry D. & Euler, Michelle D.                                                      Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                               65.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                60.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              110.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              300.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               50.00
10.   Personal care products and services                                                      10. $                                                 0.00
11.   Medical and dental expenses                                                              11. $                                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               190.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,375.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       2,375.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                                 600.00
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              2,375.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              -1,775.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Jerry D. Mills
                            First Name             Middle Name             Last Name

Debtor 2                    Michelle D. Euler
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:         DISTRICT OF COLORADO, DENVER DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Jerry D. Mills                                                X   /s/ Michelle D. Euler
             Jerry D. Mills                                                    Michelle D. Euler
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       June 13, 2017                                          Date    June 13, 2017
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                                                                                                               United States Bankruptcy Court
                                                                                                              District of Colorado, Denver Division

                                                                   IN RE:                                                                                  Case No.
                                                                   Mills, Jerry D. & Euler, Michelle D.                                                    Chapter 7
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: June 13, 2017                    Signature: /s/ Jerry D. Mills
                                                                                                                      Jerry D. Mills                                                           Debtor



                                                                   Date: June 13, 2017                    Signature: /s/ Michelle D. Euler
                                                                                                                      Michelle D. Euler                                            Joint Debtor, if any
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      A-1 Collection Agency
      715 Horizon Dr Ste 401
      Grand Junction, CO 81506-8731


      Adam Newhouse
      PO Box 632149
      Littleton, CO    80163-2149


      Ally Financial
      200 Renaissance Ctr
      Detroit, MI 48243


      American Coradius International
      35A Rust Ln
      Boerne, TX 78006-8202


      Bc Services Inc
      550 Disc Dr
      Longmont, CO 80503-9343


      Caine & Weiner
      PO Box 5010
      Woodland Hills, CA     91365-5010


      Calvary Portfolio Service
      Attn: Customer Care
      500 Summit Lake Dr Ste 400
      Valhalla, NY 10595-1340
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      Chi Mercy Medical Center Clinic
      PO Box 776320
      Chicago, IL 60677-6320


      City of Westminster LLC
      4800 W 92nd Ave
      Westminster, CO 80031-6387


      Colorado Department Of Labor And Employm
      PO Box 956
      Denver, CO 80201-0956


      Colorado Department Of Revenue
      1375 Sherman St
      Denver, CO 80261-3000


      Credit One Bank
      P.O. Box 60500
      City OF Industry, CA     91716-0000


      Creditonebnk
      PO Box 98872
      Las Vegas, NV    89193-8872


      D&H Insurance Grroup
      914 Judson Rd
      Longview, TX 75601-5113
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      Discoverbank
      PO Box 15316
      Wilmington, DE     19850-5316


      District Court McKenzie County, ND
      201 5th St NW Unit 524
      Watford City, ND 58854-7118


      Diversified Adjustment Service, INC
      600 Coon Rapids Blvd NW
      Coon Rapids, MN 55433-5549


      Encore Receivable
      400 N. Rogers Rd.
      Olathe, KS 66063-0000


      First Premier Bank
      601 S Minnesota Ave
      Sioux Falls, SD 57104-4824


      Garfield County
      200 E 18th St
      Rifle, CO 81650-3530


      GE Capital Retail Bank
      PO Box 965004
      Orlando, FL 32803-0000
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      GECRB / jcp
      PO Box 960090
      Orlando, FL 32896-0090


      Grand River Clinic
      501 Airport Rd
      Rifle, CO 81650-8510


      Grand River Medical Centr
      501 Airport Rd
      Rifle, CO 81650-8510


      Heart Vascular Center
      700 Delaware St
      Denver, CO 80204-4532


      Herc-U-Lift
      5655 Highway 12
      Maple Plain, MN     55359-9401


      I C System Inc
      PO Box 64378
      Saint Paul, MN     55164-0378


      Integral Recoveries
      750 W. Hampton Ave. Suite 501
      Englewood, CO 80110-0000
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      Internal Revenue Service
      1999 Broadway
      Denver, CO 80202-3025


      J.C. Christensen & Associates
      P.O. Box 519
      Sauk Rapids, MN 56379-0000


      Job Service North Dakota
      Centralized Service - Business SErvices,
      PO Box 5507
      Bismarck, ND 58506-5507


      Kindercare Learning Centers
      7395 Church Ranch Blvd
      Westminster, CO 80021-5410


      Law OFfices of Vincent Buzek
      8758 Wolff Ct Ste 210
      Westminster, CO 80031-6904


      Machol & Johannes
      600 17th St # 200
      Denver, CO 80202-5402


      Mckenzie County Healthcare Systems
      516 N Main St
      Watford City, ND 58854-7310
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      Medallion Bank
      1100 E 6600 S Ste 510
      Salt Lake City, UT 84121-7422


      Metro Collection Svc
      2600 S Parker Rd Ste 340
      Aurora, CO 80014-1613


      Metropolitan Pathologist Pc
      7444 W Alaska Dr
      Lakewood, CO 80226-3327


      Michael Waski
      1179 Heritage Dr
      Carbondale, CO 81623-3138


      Midland Credit Management
      8875 Aero Dr. Suite 200
      San Diego, CA 92123-0000


      Midland Funding
      8875 Aero Dr Ste 200
      San Diego, CA 92123-2255


      Mountain Radiology Pc
      1906 Blake Ave
      Glenwood Springs, CO 81601-4227
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      NAR
      PO Box 505
      Linden, MI    48451-0505


      North American Recover
      1600 W 2200 S Ste 410
      West Valley City, UT 84119-7240


      North Dakota Office of State Tax Commiss
      500 W Boulevard Ave
      Bismarck, ND 58501-3468


      Penn Credit Corporation
      PO Box 988
      Harrisburg, PA 17108-0988


      Publishers Clearing House
      101 Channel Dr
      Port Washington, NY 11050-2218


      Rifle Creek Apartments
      3025 Coal Mine Ave Apt 1A
      Rifle, CO 81650-3925


      Security Service Fcu
      16211 La Cantera Pkwy
      San Antonio, TX 78256
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      St Marys Physician Smg
      1311 N Mildred Rd
      Cortez, CO 81321-2231


      St. Anthony Hospital
      11600 W. 2nd Place
      Lakewood, CO 80228-0000


      Stoneleigh Recovery Associets, LLC
      P.O. Box 1479
      Lombard, IL 60148-8479


      Target/td
      PO Box 673
      Minneapolis, MN     55440-0673


      Trinity Medical Group
      PO Box 5010
      Minot, ND 58702-5010


      U S Dept of Ed/Gsl/Atl
      PO Box 4222
      Iowa City, IA 52244-4222


      Wakefield & Associates
      3091 S Jamaica Ct
      Aurora, CO 80014-2657
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      Xcel Energy
      P.O. Box 8
      Eau Claire, WI     54702-0008
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                        Local Bankruptcy Form 1007-6.1

                                       United States Bankruptcy Court
                                     District of Colorado, Denver Division


    In re    Mills, Jerry D. & Euler, Michelle D.                      , Case No.
                      Debtor                                             Chapter      7


                             STATEMENT UNDER PENALTY OF PERJURY
                                 CONCERNING PAYMENT ADVICES

       I*, Mills, Jerry D.                           , state as follows:

       I did not file with the court copies of some or all payment advices or other evidence of payment
   received within 60 days before the date of the filing of the petition from any employer because:

   Check applicable boxes:

       [ ] I was not employed during the period immediately preceding the filing of the
       above-referenced case,              (insert dates that you were not employed );

       [ ] I was employed during the period immediately preceding the filing of the above referenced
       case but did not receive any payment advices or other evidence of payment from my employer
       within 60 days before the date of the filing of the petition;

       [ X ] I am self-employed and do not receive any evidence of payment from an employer;

       [ ] Other (please provide explanation):                                                .

   I declare under penalty of perjury that the foregoing statement is true and correct

    Dated: June 13, 2017                 By:     /s/ Jerry D. Mills
                                                 Signature of debtor
                                                 Jerry D. Mills
                                                 Printed name of debtor
                                                                           501 Fairway Ave
                                                                           Rifle, CO 81650-3407
                                                 Home Address
                                                 Telephone number          (970) 274-4651
                                                 Facsimile number
                                                 E-mail address

   *A separate form must be signed for each debtor
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                        Local Bankruptcy Form 1007-6.1

                                       United States Bankruptcy Court
                                     District of Colorado, Denver Division


    In re    Mills, Jerry D. & Euler, Michelle D.                      , Case No.
                      Debtor                                             Chapter      7


                           STATEMENT UNDER PENALTY OF PERJURY
                               CONCERNING PAYMENT ADVICES

            I*, Euler, Michelle D.                   , state as follows:

          I did not file with the court copies of some or all payment advices or other evidence of
   payment received within 60 days before the date of the filing of the petition from any employer
   because:

   Check applicable boxes:

       [ ] I was not employed during the period immediately preceding the filing of the
       above-referenced case,              (insert dates that you were not employed );

       [ ] I was employed during the period immediately preceding the filing of the above referenced
       case but did not receive any payment advices or other evidence of payment from my employer
       within 60 days before the date of the filing of the petition;

       [X ] I am self-employed and do not receive any evidence of payment from an employer;

       [ ] Other (please provide explanation):                                                .

   I declare under penalty of perjury that the foregoing statement is true and correct

    Dated: June 13, 2017                 By:     /s/ Michelle D. Euler
                                                 Signature of debtor
                                                 Michelle D. Euler
                                                 Printed name of debtor
                                                                           501 Fairway Ave
                                                                           Rifle, CO 81650-3407
                                                 Home Address
                                                 Telephone number          (970) 274-4651
                                                 Facsimile number
                                                 E-mail address




   *A separate form must be signed for each debtor
                                                                          Case:17-15477-MER Doc#:1 Filed:06/13/17
                                                                   B201B (Form 201B) (12/09)
                                                                                                                                              Entered:06/13/17 12:48:35 Page75 of 79
                                                                                                                    United States Bankruptcy Court
                                                                                                                  District of Colorado, Denver Division

                                                                   IN RE:                                                                                           Case No.
                                                                   Mills, Jerry D. & Euler, Michelle D.                                                             Chapter 7
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                                   Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                                   the Social Security number of the officer,
                                                                                                                                                                   principal, responsible person, or partner of
                                                                                                                                                                   the bankruptcy petition preparer.)
                                                                                                                                                                   (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Mills, Jerry D. & Euler, Michelle D.                                   X /s/ Jerry D. Mills                                        6/13/2017
                                                                   Printed Name(s) of Debtor(s)                                              Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X /s/ Michelle D. Euler                                     6/13/2017
                                                                                                                                             Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                            Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                    $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                          $75      administrative fee

        Your debts are primarily consumer debts.                                            +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                     $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                                 Chapter 7 is for individuals who have financial
                                                                                            difficulty preventing them from paying their debts
                                                                                            and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                              property to be used to pay their creditors. The
 individuals                                                                                primary purpose of filing under chapter 7 is to have
                                                                                            your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                     relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                         many of your pre-bankruptcy debts. Exceptions
                                                                                            exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                             still be enforced after discharge. For example, a
                                                                                            creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                         mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                               However, if the court finds that you have committed
                   for family farmers or                                                    certain kinds of improper conduct described in the
                   fishermen                                                                Bankruptcy Code, the court may deny your
                                                                                            discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                             You should know that even if you file chapter 7 and
                   income                                                                   you receive a discharge, some debts are not
                                                                                            discharged under the law. Therefore, you may still
                                                                                            be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                              most taxes;
 chapter.
                                                                                                most student loans;

                                                                                                domestic support and property settlement
                                                                                                obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                      page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                           Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
             farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                           the court approves your plan, the court will allow you
                                                                                           to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                   years or 5 years, depending on your income and other
 +                  $75        administrative fee                                          factors.
                   $275       total fee
                                                                                           After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                  are not discharged and that you may still be
 using future earnings and to discharge some debts that                                    responsible to pay include:
 are not paid.
                                                                                                  domestic support obligations,

                                                                                                  most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                             certain taxes,
             income
                                                                                                  debts for fraud or theft,

                   $235       filing fee                                                          debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                  fiduciary capacity,
                   $310       total fee
                                                                                                  most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                              certain debts that are not listed in your
 installments over a period of time and to discharge                                              bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                  certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 3

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                                                                                           A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case
                                                                                           and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                   each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                      Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

 For more information about the documents and                                              The law generally requires that you receive a credit
 their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                         case, both spouses must receive the briefing. With
                                                                                           limited exceptions, you must receive it within the 180
                                                                                           days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                               briefing is usually conducted by telephone or on the
                                                                                           Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                    In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                          generally must complete a financial management
        connection with a bankruptcy case, you may be                                      instructional course before you can receive a
        fined, imprisoned, or both.                                                        discharge. If you are filing a joint case, both spouses
                                                                                           must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                   You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                  both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                            .
        Department of Justice.
                                                                                           In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                              http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                           BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                         AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
 that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                   the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4

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